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UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF MASSACHUSETTS 3! - - op

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IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE ed
LITIGATION MDL No. 1456

Civil Action No. 01-CV-12257-PBS

THIS DOCUMENT RELATES TO:
Judge Patti B. Saris

State of Montana v. Abbott Labs, Inc., et al.,
02-CV-12084-PBS

State of Nevada v. American Home Products
Corp., et al, 02-CV-12086-PBS

DEFENDANTS’ MOTION TO DISMISS THE STATE OF MONTANA’S SECOND
AMENDED COMPLAINT AND THE STATE OF NEVADA’S AMENDED COMPLAINT

Pursuant to Federal Rules of Civil Procedure 9(b) and 12(b)(6), the undersigned
Defendants respectfully move this Court jointly for dismissal of all claims against them in the
State of Montana’s Second Amended Complaint and the State of Nevada’s Amended Complaint.
The grounds for this motion are stated in: (1) the Consolidated Memorandum in Support of
Defendants’ Motion to Dismiss, in which nearly all defendants join; and (2) the individual
memoranda of law filed by some defendants, which they have submitted to address issues
specific to them or issues that were not included in the Consolidated Memorandum. This Motion
is submitted on behalf of all defendants who have been properly served.

WHEREFORE, for the reasons set forth in the memoranda described above, the
Defendants respectfully request that the Court grant their motion to dismiss the claims against
them in the State of Montana’s Second Amended Complaint and the State of Nevada’s Amended

Complaint and enter an Order:
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8915/2083 16:86 COVINGTON & BURLING 11 COPY ROOM + 916179517a50 NO. @73
a. dismissing all claims in the aforementioned Complaints with prejudice;
and
b. providing such other and further relief as the Court deems just and proper,

DATE: September 15, 2003

ON BEHALF OF:
ABBOTT LABORATORIES
AMGEN, INC.

APOTHECON, INC.

Respectfully submitted,

ON BEHALF OF LISTED DEFENDANTS
IN THE ABOVE-CAPTIONED ACTIONS,

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AVENTIS BEHRING L.L.C,

AVENTIS PHARMACEUTICALS, INC,

B. BRAUN OF AMERICA

BAXTER HEALTHCARE CORPORATION
BAXTER INTERNATIONAL, INC,

BAYER CORPORATION

BEDFORD LABORATORIES

BEN VENUE LABORATORIES, INC.
BOEHRINGER INGLEHEIM CORP.
BRISTOL-MYERS SQUIBB CO.

CENTOCOR, INC.

DEY, INC.

GENSIA, INC.

GENSIA SICOR PHARMACEUTICALS, INC.
HOECHST MARION ROUSSEL, INC.

IMMUNEX CORP.

JANSSEN PHARMACEUTICAL PRODUCTS, L.P.
JOHNSON & JOHNSON

MCNEIL-PPC, INC,

NOVARTIS PHARMACEUTICALS CORPORATION
ONCOLOGY THERAPEUTICS NETWORK CORPORATION
ORTHO BIOTECH

PFIZER, INC.

PHARMACIA CORPORATION
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PHARMACIA & UPJOHN, INC.
SCHERING-PLOUGH CORPORATION
SMITHKLINE BEECHAM CORPORATION
TAP PHARMACEUTICAL PRODUCTS, INC.

WARRICK PHARMACEUTICALS CORPORATION
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UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456
AVERAGE WHOLESALE PRICE
LITIGATION Civil Action No. 01-CV-12257-PBS

Judge Patti B. Saris
THIS DOCUMENT RELATES TO:

State of Montana v. Abbott Labs, Inc., et al.,
02-CV-12084-PBS

State of Nevada v. American Home Products
Corp., et al.,02-CV-12086-PBS

CONSOLIDATED MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION
TO DISMISS THE STATE OF MONTANA’S SECOND AMENDED COMPLAINT
AND THE STATE OF NEVADA’S AMENDED COMPLAINT

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The States of Montana and Nevada assert three distinct kinds of claims under Montana
and Nevada law: (1) the now-familiar AWP claims brought on behalf of Medicare beneficiaries
and private health plans (the States assert these claims in a parens patriae representative
capacity); (2) a new class of AWP claims brought on behalf of the States seeking recovery of
state Medicaid funds based on Nevada’s and Montana’s decision to utilize an A WP-based
system of reimbursement; and (3) “Best Price” claims brought on behalf of the States for alleged
violations of the federal Medicaid rebate contract between each defendant and HHS. These
claims fail for several reasons.

First, the Best Price claims, all of which are premised on state law, are preempted by the
federal Medicaid Rebate Statute, which (1) defines the term “best price”; (2) requires a uniform
Rebate Agreement between HHS and each manufacturer; and (3) vests compliance and
enforcement authority exclusively with HHS and the federal government. This carefully-
designed statutory and regulatory system would be seriously undermined if each State was
permitted, through litigation, to define key statutory terms such as “best price” and establish the
obligations of the Rebate Agreement to which the States are not even parties. See Buckman Co.
v. Plaintiffs’ Legal Committee, 531 U.S. 341, 347-53 (2001). Second, the States’ AWP claims
and Best Price claims (if not preempted by federal law) fail because they do not satisfy the
elements of the various state statutes asserted by Montana and Nevada. Third, plaintiffs’ claims
fail to satisfy Rule 9(b). Nevada and Montana fail to identify even one allegedly false “best
price” report involving a single manufacturer or drug, and the conclusory allegations regarding
non-Medicare drugs and pharmacy benefit managers (“PBMs”) are virtually identical to those

previously dismissed by the Court.!

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This Consolidated Memorandum is submitted jointly on behalf of all defendants who have been properly served.
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STATEMENT OF THE CASE

A. Summary of the Montana and Nevada Allegations.

The AWP claims, brought on behalf of the States and their residents, closely track the
MDL Amended Master Consolidated Class Action Complaint (“AMCC”), which is subject to a
pending motion to dismiss. Both States seek to recover on behalf of three discrete AWP classes,
the first two in a parens patriae capacity: (1) Medicare beneficiaries residing in Montana and
Nevada; (2) unidentified “third-party payors” that pay for drugs, including thousands of drugs
obtained outside the Medicare and Medicaid frameworks, through private contracts with PBMs;
and (3) the States themselves, for allegedly excessive payments to providers under each State’s
Medicaid program. See Mont, Cplt. ¢{ 166, 201-09; Nev. Cplt. J] 129, 164-72. The payments
by the States are at issue because Montana and Nevada decided to reimburse most Medicaid
providers for prescription drugs at rates pegged to AWP -- Montana reimburses at AWP-15%,
see Mont. Cplt. {| 162 (citing Mont. Admin. R. 37.86.1101), and Nevada reimburses at AWP-
10% plus a $4.76 dispensing fee. See Nev. Cplt. J 126 (citing Nevada Medicaid Servs. Manual
§ 1204.2).

Second, in the space of a few paragraphs (see Mont. Cplt. { 612-23; Nev. Cplt. 4¥ 392-
403), the States conclusorily allege on their own behalf that the “Defendants” inflate the “best
prices” of various unnamed drugs in violation of the Medicaid Rebate Statute and each
defendant’s individual Rebate Agreements with HHS. Without identifying a single Best Price
report or particular Best Price to which they object, the States conclusorily allege that
“Defendants” collectively failed “to include” in the Best Prices reported to HHS various
unnamed “free goods,” “discounts,” “rebates,” and “educational grants and other programs.”

Mont. Cplt. { 612; Nev. Cplt. § 392. Because the Best Price calculations to HHS were incorrect,
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the States allege, the Montana and Nevada Medicaid programs are deprived of the “full rebates”
due under the federal Medicaid program. Mont, & Nev. Cplts. J 12.

B. Montana’s and Nevada’s Decision to Reimburse Providers Based on AWP.

Unlike the Medicare program, which is required by Congress to reimburse for eligible
prescription drugs on the basis of AWP, the federal Medicaid program provides the States with
some flexibility to establish their own prescription drug reimbursement systems. See Mont. Colt.
{ 159; Nev. Cplt. | 124. In general, federal regulations limit Medicaid reimbursement for
prescription drugs to the lesser of the provider’s “usual and customary charges,” or “[e]stimated
acquisition costs [“EAC”] plus reasonable dispensing fees established by the [state Medicaid]
agency.” 42 C.F.R. §§ 447.331(b)(1)-(b)(2). EAC is defined as the state Medicaid agency’s
“best estimate of the price generally and currently paid by providers for a drug marketed or sold
by a particular manufacturer or labeler in the package size of drug most frequently purchased by
providers.” 42 C.F.R. § 447.301. These regulations give state Medicaid programs latitude in
determining EAC. Exercising their discretion, several States do not reimburse based on AWP,
but upon “wholesale acquisition cost,” acquisition cost, or some other benchmark.” Montana and
Nevada, on the other hand, use discounted AWP for most drugs in their determination of EAC --
Montana reimburses at AWP-15%, and Nevada reimburses at AWP-10% plus a $4.76 dispensing
fee. See Mont. Cplt. § 162; Nev. Cplt. 4 126.3

As set forth in greater detail below, Montana and Nevada have known for decades that

the published AWPs often exceed provider acquisition costs. See infra pages 13-16. More

* See, e.g., Ala. Admin. Code R. 560-X-16.06 (2002) (WAC + 9.2%); Mass. Regs. Code tit. 114.3 § 31.01 (2003)
(WAC + 10%); 1 Tex. Admin. Code § 355.8541 (2003) (“wholesale estimated acquisition cest,” or “direct estimated
acquisition cost,” or “maximum allowable cost” for multiple-source drugs).

3 . : . : .
Montana also reimburses at “maximum allowable cost” with respect to all formulations of a multiple-source drug
with three or more suppliers. See Mont. Cplt. 4 88.
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significantly, the States -- and Montana in particular -- were repeatedly informed by HHS that
using AWP as a benchmark would reimburse pharmacies at rates much higher than their
acquisition costs. /d,

Cc. The Medicaid Rebate Program.

In 1990, concerned that state Medicaid programs were over-paying for prescription drugs
to physicians and pharmacies, Congress established the Medicaid rebate program to require that
participating drug manufacturers offer the States additional discounts on prescription drugs. See
42 U.S.C. § 1396r-8 et seg. (the “Rebate Statute”). Unlike other aspects of the federal Medicaid
program, in which States are given discretion to establish state Medicaid plans and procedures
(such as a prescription drug reimbursement formula based on AWP), the rebate program contains
@ uniform set of definitions and is based on a uniform contract between each manufacturer and
HHS. First, the Rebate Statute requires participating manufacturers to enter into a uniform
Rebate Agreement with the Secretary of HHS. See 42 U.S.C. § 1396r-8(a)(1); Mont. Colt.

{ 603; Nev. Cplt. 7 383; see also 56 Fed, Reg. 7049 (Feb. 21, 1991) (model HHS Rebate
Agreement) (Ex. 1). The Rebate Agreement, together with the Rebate Statute, establishes the
obligations of a manufacturer to pay rebates to the States. States are not parties to the Rebate
Agreement, which is “governed by federal common law.” See Rebate Agreement at § [X(e) (Ex.
1); State of Montana v. Abbott Labs, et al., 266 F. Supp.2d 250 259 (D. Mass. 2003).

Second, the Rebate Agreement and the Rebate Statute establish the calculation and
process for submitting the best price reports. See Mont. Cplt. { 604; Nev. Cplt. { 384. This
federally-created calculation provides for quarterly rebates for most “covered outpatient drugs”
(id.) as follows: (1) the total number of units of each dosage form and strength paid for under the
state plan in the rebate period; multiplied by (2) the greater of (a) the difference between the

“Average Manufacturer Price” (“AMP”) and the “best price,” or (b) a minimum rebate
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percentage equal to 15.1% for single-source and innovator multiple-source drugs. See 42 U.S.C.
§ 1396r-8(c)(1)(B)(i); see also Mont. Cplt. J 608; Nev. Cplt. | 388. The terms “AMP” and “best
price” are defined in the Rebate Statute and the Rebate Agreement. 42 U.S.C. §§ 1396r-
8(e)(1)(C)(i)-(ii) & (k)(1); Ex. 1 at §§ Ia), I(d).

Third, the Rebate Statute and the Rebate Agreement require drug manufacturers to report
AMP and best price to the Secretary of HHS -- not to the States -- on a quarterly basis. See 42
U.S.C. § 1396r-8(b)(3)(A); Ex. | at § II(e), The Secretary does not provide this confidential best
price data to the States, but instead gives them the “Unit Rebate Amount” for each covered drug
and dosage. See 42 U.S.C. § 1396r-8(b)(2)(A); Ex. 1 at §§ I(n), (dd). States, in turn, provide
manufacturers with “Medicaid Utilization Information,” or the total number of units of each
dosage form and strength of each covered outpatient drug.

Finally, the Rebate Statute and the Rebate Agreement provide for exclusively federal
enforcement of the rebate program. The Secretary -- not the States -- is empowered to “survey”
manufacturers that “directly distribute their covered outpatient drugs to verify manufacturer
prices” (42 U.S.C. § 1320a-7c) and may “impose civil monetary penalties” up to “$100,000 for
each item” if a manufacturer “refuses a request for information about charges or prices .. . in
connection with a survey” or “knowingly provides false information.” Ex. 1 at $$ ITI(b), I'V(a);
see also 42 U.S.C. § 1396r-8(b)(3)(B). The Secretary also is empowered to impose additional
monetary penalties “for failure to provide timely information on AMP [or] Best Price” at a rate

of $10,000 “for each day in which such information has not been provided.” Ex. 1 at § IV(c).
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The Secretary has additional authority to direct state Medicaid agencies to debar non-complying
manufacturers. See 42 U.S.C. § 1320a-7a.4
ARGUMENT

I. THE BEST PRICE CLAIMS SHOULD BE DISMISSED.

The States conclusorily allege that “defendants” improperly inflate the “best prices” of
various unnamed drugs, in violation of the Rebate Statute and each manufacturer’s obligations
under the Rebate Agreement with HHS. This asserted failure to comply with each
manufacturer’s obligation to the federal government is alleged to violate the Montana and
Nevada “deceptive trade practice” statutes (Mont. Count Ii; Nev. Count III), the Montana and
Nevada “Medicaid fraud” statutes (Mont. Count IIT; Nev. Count V), and the Montana “False
Claims” act (Mont. Count IV). These Best Price claims fail for two reasons. First, they are
preempted by the Medicaid Rebate Statute, which together with the Rebate Agreement
establishes each defendant’s obligations to report best price. Second, even if not preempted,
these claims fail because they do not (and cannot) allege violations of the Montana and Nevada
Statutes,

A. The Best Price Claims Alleged Under Montana and Nevada Law Are
Preempted by the Medicaid Rebate Statute,

The Supremacy Clause of the United States Constitution (Art. VI, cl. 2), “invalidates

state laws that interfere with, or are contrary to, federal law.” Hillsborough Cty., Fla. v.

4 oMs has also made clear through a series of directives to all state Medicaid Directors that CMS -- nor the States --
has ultimate authority to address failures by manufacturers to fulfill their obligations under the Rebate Agreement.
Program Release 55, for example, instructs States that in the event of a manufacturer’s refusal to pay rebates, the
State should contact the regional CMS drug rebate coordinator for enforcement action or dispute resolution. See
HCPA/CMS Medicaid Drug Rebate Program Release No. 55 at 2 (Oct. 5, 1995) (Ex. 2). The Program Release also
emphasizes that only the Secretary has authority to terminate a drug manufacturer's Medicaid participation. fa.
Likewise, Program Release 71 specifies that CMS, nor the States, is responsible for addressing a manufacturer’s
failure to fulfil! its obligations under the Rebate Agreement. HCFA/CMS Medicaid Drug Rebate Program Release
No. 71 at 4 (Nov. 20, 1997) (Ex. 3).
